Case 1:05-cr-10008-.]DT Document 15 Filed 05/09/05 Page 1 of 2 Page|D 15

FILED BY w D.C.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE§§ HAY _9 PH li= 32

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UNITED srArEs OF AMERICA, )
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Piaintifr, )
)

VS_ ) No. 05-10003-'r

)
GREGORY B. CLARK, )
)
Defendant. )

 

ORDER

 

M. Dianne Smothers, court-appointed defense counsel, has moved to be relieved from
further representation of defendant in this matter because of a conflict of interest. For good
cause shown, the motion is granted Assistant Federal Defender M. Dianne Smothers and
the office of the Federal Defender are hereby relieved of further responsibility in this action.
A member of the Criminal Justice Act Panel Will be appointed to represent defendant in all
further proceedings

IT lS SO ORDERED.

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WES D. TODD
ITED sTATEs DIsrchr JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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M. Dianne Srnothers

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Honorable J ames Todd
US DISTRICT COURT

